                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                       Case No. 21-44887
SILVERSIDE SENIOR LIVING,                              Chapter 11
LLC, et al., 1                                         Hon. Lisa S. Gretchko

         Debtors.
                                                       Jointly Administered

        ORDER EXTENDING DEADLINE TO FILE OBJECTIONS TO
    CONFIRMATION AND TO EXTEND THE DEADLINE FOR DEBTORS
    TO RESPOND TO THE APPLICATION OF GORDON FOOD SERVICE
      INC FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE
    PRIORITY CLAIM AND TO MOTION OF CHIPPEWA VALLEY, LLC
    FOR ENTRY OF ORDER ALLOWING ADMINISTRATIVE EXPESNE

         The Debtors, the Subchapter V Trustee, the United States Trustee, Chippewa

Valley, LLC, and Gordon Food Service Inc. (collectively, the “Parties”) have

stipulated to: (i) extending the deadline for Chippewa Valley, LLC, Gordon Food

Service Inc. and the United States Trustee to file objections to confirmation from

November 15, 2021 to November 17, 2021, and (ii) extending the deadlines for the

Debtors to respond to the Application of Gordon Food Service Inc. for Allowance

and Payment of Administrative Priority Claim (ECF No. 108) and to respond to the

Motion of Chippewa Valley, LLC for Entry of an Order Allowing Administrative


1The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No.
21-44888-lsg].



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Expense Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b)(1)(A) (ECF No. 136). The

Parties have filed a stipulation (the “Stipulation”; ECF No. 137) seeking the entry of

this Order. The Court has reviewed the Stipulation and finds good cause to enter

this Order. The Court is advised in the premises.


      NOW, THEREFORE, IT IS HEREBY ORDERED that the deadline for

Chippewa Valley, LLC, Gordon Food Service Inc., and the United States Trustee to

file objections to confirmation is extended from November 15, 2021 to November

17, 2021.

      IT IS FURTHER ORDERED that the deadline for the Debtors to respond

to the Application of Gordon Food Service Inc. for Allowance and Payment of

Administrative Priority Claim (ECF No. 108) is extended to November 17, 2021.

      IT IS FURTHER ORDERED that the deadline for the Debtors to respond

to the Motion of Chippewa Valley, LLC for Entry of an Order Allowing

Administrative Expense Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b)(1)(A) (ECF

No. 136) is extended to November 17, 2021.



Signed on November 16, 2021




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